       Case 3:14-cv-00853-RDM Document 786 Filed 05/29/24 Page 1 of 4




May 29, 2024
                                                               Carl W. Hittinger
                                                               direct dial: 215.564.2898
                                                               chittinger@bakerlaw.com




VIA ECF AND EMAIL

Hon. Thomas I. Vanaskie
Stevens & Lee
425 Biden Street, Suite 300
Scranton, PA 18503
Re:   Bobrick Washroom Equipment, Inc. v. Scranton Products, Inc.,
      No. 3:14-CV-853-RDM
Dear Judge Vanaskie:

      We write to address issues with Scranton Products’ May 7, 2024 deposition
notices on Marcelo Hirschler, William Fitch, and Dan Frame. None of these
individuals has knowledge or information relevant to Bobrick’s Third Enforcement
Motion, namely Scranton Products’ advertising and market practices and Bobrick’s
decision to file the Third Enforcement Motion, and recent correspondence from
Scranton Products shows these notices to be pretext for attempting to take
discovery on irrelevant issues in order to file a new litigation against Bobrick.

      As Mr. Hirschler’s May 12, 2024 letter to Scranton Products’ Counsel
shows (attached as Exhibit A), he does not have documents responsive to a
subpoena Scranton Products recently served on him, showing that he also does not
have information relevant to Bobrick’s Third Enforcement Action. Nor has Mr.
Hirschler ever worked for Bobrick or Scranton Products. Instead, Scranton
Products’ wants to depose him concerning his comments made at the 2023
National Fire Protection Association’s Annual Technical Meeting regarding NFPA
286 testing, specifically fire test room setup, which is not in any way relevant to
       Case 3:14-cv-00853-RDM Document 786 Filed 05/29/24 Page 2 of 4

Hon. Thomas I. Vanaskie
May 29, 2024
Page 2

Bobrick’s Third Enforcement Motion about Scranton Products’ marketing and
advertising.

       Scranton Products has also served a deposition notice and deposition
subpoena on Bobrick’s Vice President of Partitions and Cubicles Dan Frame and
Bobrick’s fire testing consultant William Fitch, respectively, neither of whom has
relevant information concerning Scranton Products’ marketing and advertising
practices, and neither of whom was involved in deciding to proceed against
Scranton Products in the Third Enforcement Action. Ex. B (Dan Frame affidavit);
Ex. C (William Fitch affidavit).

        On Friday, May 24, 2024, Scranton Products served a letter on Bobrick
concerning the interior finish classification of Bobrick’s toilet partitions. In that
letter, Scranton Products alleges Bobrick’s partitions “have violated state and
federal laws,” an issue that has nothing to do with the Settlement Agreement or
Bobrick’s Third Enforcement Motion. Ex. D. It is plainly Scranton Products’
intention to seek information from Mr. Frame and Mr. Fitch to explore a separate
litigation against Bobrick, an improper purpose for discovery under the Settlement
Agreement, the focus of which is Scranton Products’ partitions and advertising and
marketing practices, not Bobrick’s. As Your Honor stated during Mr. Van Winter’s
deposition on Friday, May 24, 2024: “This [Breach Action] is not about
discovering whether there are other breaches of the settlement agreement that are
unrelated to the specific marketing of Scranton Products’ products.” Rough Tr. at
34:12-15.

     Accordingly, we respectfully request that Scranton Products’ subpoenas on
Mr. Hirschler and Mr. Fitch and deposition notice on Mr. Frame be quashed.
       Case 3:14-cv-00853-RDM Document 786 Filed 05/29/24 Page 3 of 4

Hon. Thomas I. Vanaskie
May 29, 2024
Page 3


                                              Respectfully submitted,




                                              Carl W. Hittinger

cc: all counsel of record
       Case 3:14-cv-00853-RDM Document 786 Filed 05/29/24 Page 4 of 4

Hon. Thomas I. Vanaskie
May 29, 2024
Page 4

                              Page Limit Certification

      I certify that the foregoing letter is three pages or less, 12-point font,

excluding letterhead.



May 29, 2024                                                 /s/ Carl W. Hittinger
                                                             Carl W. Hittinger
